JS 44

(Rev. 10/20)

T US
CIVIL COVER SHEET 3
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or oth
provided by local rules of court. This form, approved by the Judicial Conference of the United States in oOnrQened
purpose of initiating the civil docket sheet, SK INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

papers as required by law, except as
je use of the Clerk of Court lor the

Matthew Haney, as Trustee of the Gooseberry Island

(b) County of Residence of First Listed Plaintiff Norfolk
(ENCEPT IN US. PLAINTIFF CASES)

Town of Mashpee, Zoning Board of Appeals of the Town a

aat...

County of Residence of First Listed Defendant Barnstable
(IN US, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED

NOTE:

(c) Attorneys (rm Nane, Address, and Telephone Number) Attomeys (if Kiewn)

Pro Se

Il. BASIS OF JURISDICTION (Place an “X" II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Nt One Box jor Planuiff

One Box Onty)

[Ji

U.S. Government
Plant!

[]2 U.S. Government
Defendant

[X]3 Federal Question

(OLS. Government Nota Party)

[]4 Diversity

(adicate Citizenship of Parties in fem ID

(hor Diversity Cases Only) and One Box for Defendant)
PTF PTF

Cj! [4

DEF

[]4

DEF

Citizen of This State CT 1 Incorporated er Principal Place

of Business In This State

Citizen of Another State C] 2 C] 2 C 5 C] 5

Incorporated wa Principal Place
of Business In Another State

Citizen or Subject of a
Foreign Country

[]3

CL] 3

Foreign Nation

[_]6

IV. NATURE OF SUIT itace an ex" in One Box Only)

Click here for: Nature ofS

| CONTRACT

TORTS

FORFEITURE/PENALTY

110 Insurance
120 Marine
130 Miller Act
140 Negotiable Instrument
C] 150 Recovery of Overpayment
& Enforcement of Judgment
151 Medicare Act
152 Recovery of Defaulted
Student Loans
ae xcludes Veterans)

CL)

Recovery of Overpayment
“of Veteran's Benefits
160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

Pe O

PERSONAL INJURY

310 Airplane

315 Airplane Product
Liability

320 Assault, Libel &
Slander

330 Federal Employers”
Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal
Injury

362 Personal Injury -
Medical Malpractice

PERSONAL INJURY

oO 365 Personal Injury -
Product Liability

{_j 367 Health Care
Pharmaceutical
Personal Injury
Product Liability

Cl 368 Asbestos Personal
Injury Product
Liability

PERSONAL PROPERTY

— 370 Other Fraud

371 Truth in Lending

{J 380 Other Personal
Property Damage

C 385 Property Damage

Product Liability

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

[ }o25 Drug Related Seizure
of Property 21 USC &81

[_}690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

BANKRUPTCY

PROPERTY RIGHTS

820 Copyrights

830 Patent

835 Patent - Abbreviated
New Drug Application

[_] 840 Trademark

LABOR

[| 880 Defend Trade Secrets

710 Fair Labor Standards
Act
| | 720 Labor/Management
Leave Act

Relations
790 Other Labor Litigation

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product [Liability
290 All Other Real Property

PIL]

440 Other Civil Rights

441 Voung

442 Employment

443 Housing’
Accommodations

| 445 Amer. w/Disabilities -

Employment

|| 446 Amer. w/Disabilities -

Other

| | 448 Education

Habeas Corpus:

|_| 463 Alien Detainee

[| 510 Motions to Vacate

Sentence

| | 530 General

| | 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

585 Prison Condition

560 Civil Detainee -
Conditions of

Confinement

740 Railway Labor Act
751 Family and Medical
|_| 791 Employee Retirement
Income Security Act

Act of 2016

861 HIA (1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(2))
864 SSID Title XVI
|_| 865 RSI (405(2))

_SOCIAL SECURITY. :

[FEDERAL TAX SUITS

[|] 870 Taxes (U.S. Plaintiff
or Defendant)
(_] 871 1RS—Third Party

IMMIGRATION

26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

[] 6
375 False Claims Act
|] 400 State Reapportionment
450 Commerce
|_| 470 Racketeer Influenced and
(15 USC 1681 or 1692)
490 Cable/Sat TV
893 Environmental Matters
H 896 Arbitration
Act/Review or Appeal of
Agency Decision

ut Code Deserintions.
OTHER STATUTES |
- 376 Quit Tam (31 USC
3729%(a))
410 Antitrust
430 Banks and Banking
|| 460 Deportation
Corrupt Organizations
| 480 Consumer Credit
| 485 Telephone Consumer
Protection Act
-! 850 Securities‘Commodities/
Exchange
|_| 890 Other Statutory Actions
~ | 891 Agricultural Acts
895 Freedom of Information
Act
899 Administrative Procedure
|_| 950 Constitutionality of
State Statutes

V. ORIGIN (face un x”
[x] | Original Z

Proceeding

i One Box Only)
Removed from
State Court

3

Remanded from
Appellate Court

Cit Reinstated or oO 3 Trensferred trom
Another District
(specify)

Reopened

Cl 6 Multidistri

Transfer

Litigation -

8 Multidistrict
Litigation -
Direct File

et

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
Fifth and Fourteenth Amendments, 42 USC ss. 1983 and 1988

Brief description of cause:

Regulatory Taking

VI. CAUSE OF ACTION

VIL REQUESTEDIN [] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23. FP. R.Cv P. JURY DEMAND: — []Yes_ [X]No
VII, RELATED CASE(S)
i , Sev ms! HORS)!
IF ANY f JASTFUCTONS) JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

October 4, 2024
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE

MAG. JUDGE

